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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


TREVOR WILLIAMS,                                      §
                                                      §
                               Plaintiff,             §
                                                      §
vs.                                                   § Civil Action No. 3:05-CV-1383-D
                                                      § (ECF) (Closed Case)
REMINGTON ARMS COMPANY, INC.                          §
                                                      §
                               Defendant.             §


 MOTION TO COMPEL COMPLIANCE WITH COURT ORDER AND MOTION FOR
                EXPEDITED EMERGENCY HEARING

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       A dispute has arisen over the distribution of $500,000, held in trust in Houston, Texas.

       Trevor Williams settled his lawsuit against Remington on March 5, 2008. The parties

dictated the terms of the settlement into the record. See Exhibit 1. The court ordered distribution

of funds by order dated August 20, 2008: “The remaining $500,000 should remain in the

custody of Edward J. Murphy pending instructions for payment to properly identified annuity

companies, and upon signed authorization from counsel for Plaintiff, funds should be so-

distributed without need for further order of this court.”

       On Monday, September 8, 2008, at 12:03pm, Mr. Hightower for Trevor Williams sent

Mr. Murphy the following email:

        Ed, Please see check writing instructions below. I will also forward the qualified
        assignment for signature by someone for Remington, Dale I assume. Please
        confirm receipt.
        Please make the premium checks payable to:
        Prudential Assigned Settlement Services Corp. $300,000.00
        Tax ID XX-XXXXXXX
        and
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         Liberty Life Assurance Company of Boston           $200,000.00
         Tax ID XX-XXXXXXX
         Please send checks to:
         Johnson Settlements
         202 N. Allen Dr., Ste. E
         P.O. Box 918
         Allen, TX 75013
         972-396-1377

         Mr. Murphy responded on Wednesday, September 10, 2008 at 11:21 am, indicating that

he was sending checks “without delay” as the court ordered:

         I am sending out the two checks today, totaling $500,000, pursuant to your
         instructions and the Court’s order. Please confirm by return email that once these
         payments are made, that the settlement has been fully funded. I thank you for
         your courtesy and cooperation in this matter.

         Mr. Hightower confirmed by return email that such action would result in the full funding

of the settlement.

         AIG now claims for the first time that Trevor Williams must structure the remaining

funds with Shoman and AIG, citing the following language from page 4 of the transcript, lines

17-23:

         Plaintiff shall structure at least $200,000. The structure broker shall be Kathy
         Shoman of EPS, in coordination with Neal Johnson of Johnson Settlement
         Resources. The structure company shall be an AIG approved company.”

         The language above pertains only to the required structure of no less than $200,000.

Trevor Williams did in fact structure $200,000 with AIG in compliance with his obligation.

Beyond the $200,000 obligation, Mr. Williams should be free to invest the funds as his

discretion, especially in light of AIG’s financial insecurity.

         Plaintiff prays for an order of court compelling Mr. Murphy to write and send the checks

as directed by Mr. Hightower’s email of September 8, 2008. Jeffrey W. Hightower, Jr. and

Edward Murphy also request a short hearing before the court on this matter given that interest

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rate fluctuations has the very real potential of negatively affecting Mr. Williams’ future income

stream. Mr. Murphy has requested that the hearing take place “around 1:00 pm Monday or

Tuesday, September 22 or 23,” depending, of course, on the court’s schedule, and Mr.

Hightower is also available on those dates and at that time.

                                                     Respectfully submitted,

                                                     s/ Jeffrey W. Hightower, Jr.
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                                                     LOCAL COUNSEL

                                                     ATTORNEYS FOR PLAINTIFF

                                  CERTIFICATE OF SERVICE

       This Motion was properly served through the ECF system on September 17, 2008.

                                                     s/ Jeffrey W. Hightower, Jr.
                                                     Jeffrey W. Hightower, Jr.

                              CERTIFICATE OF CONFERENCE

       AIG is opposed to relief requested as set out above.


                                                     s/ Jeffrey W. Hightower, Jr.
                                                     Jeffrey W. Hightower, Jr.


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